            Case 1:20-cv-03815-BAH Document 25 Filed 06/09/21 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


       ASYLUMWORKS, et al.,

                      Plaintiffs,
                                                         No. 2020-cv-03815-BAH
       v.

       ALEJANDRO N. MAYORKAS, in his                     ORAL ARGUMENT REQUESTED
       official capacity as the Secretary of
       Homeland Security, et al.,


                      Defendants.



             PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT

       Plaintiffs respectfully move for summary judgment on the third, fourth, fifth, and sixth

claims in their amended complaint and for vacatur of the two final rules challenged in this action.

In support of this motion, Plaintiffs submit a Memorandum of Law, a statement of Undisputed

Material Facts, the declaration of Cristina dos Santos, the declaration of Adilene Nunez Huang,

the declaration of Joan Hodges-Wu, the declaration of Brian McGrail together with the exhibits

attached thereto, and a proposed order.
        Case 1:20-cv-03815-BAH Document 25 Filed 06/09/21 Page 2 of 2




Dated: June 9, 2021                              Respectfully submitted,

                                            By: /s/ Keren Zwick

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